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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE


In re:                                                                  Chapter 11

iMedia Brands, Inc., et al.,1                                           Case No. 23-10852 ([___])

                                             Debtors.                   (Joint Administration Requested)



              DEBTORS’ MOTION FOR ENTRY OF INTERIM AND
        FINAL ORDERS (I) AUTHORIZING POSTPETITION USE OF CASH
      COLLATERAL; (II) GRANTING ADEQUATE PROTECTION TO CERTAIN
     PREPETITION SECURED PARTIES AND C&B NEWCO; (III) SCHEDULING
     A SECOND INTERIM HEARING; AND (IV) GRANTING RELATED RELIEF

         iMedia Brands, Inc. (“iMedia”) and its affiliated debtors and debtors in possession

(each a “Debtor” and, collectively, the “Debtors”) in the above-captioned chapter 11 cases, by and

through their undersigned proposed counsel, hereby submit this motion (this “Motion”) for entry

of interim and final orders granting the relief described below. In support hereof, the Debtors rely

on (a) the Declaration of James Alt, Chief Transformation Officer of iMedia Brands, Inc., in

Support of the Debtors’ Chapter 11 Petitions and First Day Motions (the “First Day Declaration”)2

and (b) the Declaration of James Alt in Support of Debtors’ Motion for Entry of Interim and Final

Orders (I) Authorizing Postpetition Use of Cash Collateral; (II) Granting Adequate Protection to

Certain Prepetition Secured Parties and C&B Newco; (III) Scheduling a Second Interim Hearing;

and (IV) Granting Related Relief (the “Cash Collateral Declaration” and, together with the First


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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number are: ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive,
    Inc. (8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc.
    (2155); JWH Acquisition Company (3109); PW Acquisition Company, LLC (0154); EP Properties, LLC (3951);
    FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC (2642). The
    Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in, as applicable,
    the First Day Declaration or the Interim Order.
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Day Declaration, the “Declarations”), each filed in connection herewith and incorporated herein

for reference, and further represent as follows:

                                     JURISDICTION AND VENUE

        1.       The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction to consider this Motion under 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware dated

February 29, 2012. Pursuant to Rule 9013-1(f) of the Local Rules of Bankruptcy Practice and

Procedure for the District of Delaware (the “Local Rules”), the Debtors confirm their consent to

the entry of a final order by the Court in connection with this Motion to the extent that it is later

determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

connection herewith consistent with Article III of the United States Constitution.

        2.       This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue of these

chapter 11 cases and this Motion is proper in this district under 28 U.S.C. §§ 1408 and 1409.

        3.       The statutory bases for the relief requested herein are sections 105(a), 361, 362,

363, 506, 507, of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2002, 4001,

and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Local Rules

4001-2 and 9013-1(m).

                                          RELIEF REQUESTED

        4.       The Debtors seek entry of an interim order, substantially in the form attached hereto

as Exhibit A (the “Interim Order”) and a final order, (a) authorizing the use of the Prepetition

Collateral (as defined herein), including all “Cash Collateral”3 (as defined in section 363(a) of the


3
    As set forth more fully in the Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Debtors to
    (A) Continue to Operate Their Cash Management System, (B) Honor Certain Prepetition Obligations Related
    Thereto, (C) Maintain Existing Business Forms, and (D) Continue Certain Intercompany Transactions, and
    (II) Granting Related Relief (the “Cash Management Motion”), filed contemporaneously herewith, the Debtors


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Bankruptcy Code) and the Consigned Inventory (as defined herein) in which the Prepetition

Secured Parties (as defined herein) and C&B Newco LLC (“C&B Newco”), as applicable, have or

purport to have an interest; (b) granting adequate protection of the interests of the Prepetition

Secured Parties and C&B Newco; (c) scheduling a second interim hearing (the “Second Interim

Hearing”) pursuant to Bankruptcy Rule 4001(b); and (d) granting related relief.

                                             BACKGROUND

       5.       On the date hereof (the “Petition Date”), each Debtor filed a voluntary petition for

relief pursuant to chapter 11 of the Bankruptcy Code. The Debtors are operating their business

and managing their properties as debtors in possession pursuant to sections 1107(a) and 1108 of

the Bankruptcy Code. Concurrently with the filing of this Motion, the Debtors filed a motion

requesting procedural consolidation and joint administration of these chapter 11 cases pursuant to

Bankruptcy Rule 1015(b). No trustee, examiner, or official committee of unsecured creditors has

been appointed in these chapter 11 cases.

       6.       The     Debtors,     together      with     their   non-Debtor       affiliates    (collectively,

the “Company”), capitalize on the convergence of entertainment, ecommerce, and advertising.

The Company’s global portfolio of entertainment, consumer brands and media commerce services

businesses—including ShopHQ, 1-2-3.tv, Christopher & Banks, and iMedia Digital Services—

cross-promote and exchange data with each other to optimize the engagement experiences the

Company creates for advertisers and consumers. The Company’s ecommerce business extends

across the United States, while the Company’s entertainment and advertising services reach

customers across the United States, Canada, Germany, and Austria.


   hold approximately $1.5 million in a separate “Collateral Account” maintained at PNC Bank N.A. As set forth
   in the Cash Management Motion, funds held in the Collateral Account collateralize a standby letter of credit and
   obligations under the Debtors’ corporate card program. By this Motion, the Debtors do not seek authority to use
   funds held in the Collateral Account.”



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       7.      Additional factual background regarding the Debtors, including their business

operations, corporate and capital structure, and the events leading to the filing of these chapter 11

cases, is set forth in detail in the First Day Declaration, filed concurrently herewith and

incorporated herein by reference.

                                  PRELIMINARY STATEMENT

       8.      Cash is critical to the Debtors’ business enterprise, which consists of a broad-based

portfolio of entertainment, consumer brands, and media commerce services businesses. Absent

the use of cash, the Debtors will be unable to make critical payments to their employees, vendors,

and applicable taxing authorities. Indeed, and as set forth more fully in the Declarations, the

Debtors’ inability to use Cash Collateral at the outset of these chapter 11 cases could impose the

very real risk of immediate and irreparable harm to their estates. The Debtors therefore have a

very real and urgent need for the relief quested here.

       9.      Accordingly, prior to the Petition Date, the Debtors undertook to negotiate and

obtain the Prepetition ABL Secured Parties’ (as defined herein) consent to utilize Cash Collateral

to operate the Debtors’ businesses during these chapter 11 cases. To that end, the Debtors have

already obtained Prepetition ABL Secured Parties’ agreement to provide their consent to the use

of cash to fund certain tax obligations, and discussions continue regarding the Debtors’ use of Cash

Collateral, on a limited basis, for a two-week period (the “Initial Interim Period”) in accordance

and in accordance with the budget attached to the order as Annex A (the “Interim Budget”).

Pursuant to the Budget, the Debtors request authority to use Cash Collateral in a limited period to

satisfy truly ‘mission critical’ obligations at the outset of these chapter 11 cases, namely:

             Obligation
                                                                  Description
   (projected disbursement / $)
 Postpetition Vendor Payments,    “Content Distribution” refers to the carriage cost paid to cable operators in
 including Content Distribution   order to keep the Debtors’ broadcast operations on the air. The content
 ($2.6 million)                   distribution payments contemplated by the Debtors’ Interim Budget refers to



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               Obligation
                                                                        Description
      (projected disbursement / $)
                                       the prepayments required for the Debtors to broadcast in July 2023 on certain
                                       major broadcast carriers. Should the Debtors not make these postpetition
                                       payments, the Debtors may be unable to broadcast and will be “off the air”
                                       on those carriers. As a result, the Debtors will lose their ability to generate
                                       substantial amounts of revenue.

    Wage / Benefit Obligations         Debtors have falling due certain wage and benefit obligations to their
    ($428,000)                         workforce in the interim period, including employee medical claims. Failure
                                       to make these payments could significantly impair the Debtors’ workforce
                                       and cause unnecessary hardship to individuals, and material business
                                       disruption, at the outset of these chapter 11 cases.

    Sales Tax Obligations              Debtors have due approximately $2.3 million of sales and trust fund tax
    ($2.3 million)                     obligations, including obligations arising from ongoing reconciliations and
                                       reporting being undertaken by the Debtors. These obligations are “trust
                                       fund” obligations held for the benefit of the applicable state taxing
                                       authorities, and failure to pay such obligations may result in the accrual of
                                       penalties, interest, or other liabilities, including potential liability for the
                                       Debtors’ directors and officers.

    Insurance Premium Obligations      Refers to financing premium due in connection with the Debtors’ insurance
    ($732,000)                         policies covering, among other things, general liability, auto liability,
                                       workers compensation liability, umbrella liability, cyber liability, product
                                       liability, and professional liability.


           10.     As set forth more fully herein and in the Declarations, this relief is narrowly tailored

to provide access to cash, for a limited period in a manner that both avoids immediate and

irreparable harm to these estates and also provides adequate protection for their prepetition secured

parties. Further, and as detailed in the Cash Collateral Declaration, the Prepetition ABL Secured

Parties are adequately protected on account of this limited use of cash by, among other things, the

subsequent equity cushion benefitting such parties. That is, the outstanding balance under the

Prepetition ABL totals approximately $19.4 million as of the Petition Date.4 Such obligations are

secured by, among other things, inventory and receivables with a book value of approximately

$94.8 million. And even after applying the “formula” adjustments applicable to the Debtors’

borrowing base (such as reductions to the value of inventory and receivables), the Prepetition ABL


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      This balance includes an asserted “Early Termination Fee” totaling approximately $1.6 million and various fees
      and expenses charged to the loan balance totaling approximately $1.5 million.



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Secured Parties remain substantially oversecured by a more-than-20% margin. See Cash Collateral

Declaration ¶¶ 15–17. In other words, the Prepetition ABL Secured Parties will remain adequately

protected by a substantial equity cushion during the Interim Period.

           11.       The Debtors will also continue in their efforts to reach agreement on their requested

relief prior to the Court’s hearing to consider the relief requested here.

        CONCISE STATEMENT OF MATERIAL TERMS OF THE INTERIM ORDER

           12.       In accordance with Bankruptcy Rule 4001 and Local Rule 4001-2, the following

sets forth a concise summary of the material terms of the proposed use of Cash Collateral:5

            Term              Summary of Material Terms                                                   Location
    Entities with Interest    Entities With an Interest in Cash Collateral                                (Interim
    in Cash Collateral                                                                                    Order ¶ E)
                              The “Prepetition ABL Secured Parties” are as follows
    Bankruptcy Rule
    4001(b)(1)(B)(i)                  the Prepetition ABL Agent;
                                      the Prepetition ABL Lenders; and
                                      Synacor, solely with respect to Debtor Portal Acquisition
                                       Company.
    Purpose for Use of        To avoid immediate and irreparable harm to the Debtors and their            (Interim
    Cash Collateral           Estates, the Debtors request authorization to use the Debtors’ Cash         Order ¶ H)
    Bankruptcy Rule           Collateral on an interim basis, to fund (a) general operating, corporate,
    4001(b)(1)(B)(ii)         and working capital expenses of the Debtors in the ordinary course of
                              business, (b) the costs and expenses of administering these chapter 11
                              cases; and (c) the payment of adequate protection obligations provided
                              herein, if any, in each case in accordance with the Interim Budget.
    Interim Budget            The Debtors’ use of Cash Collateral will be subject to the Interim Budget (Interim Order
    Bankruptcy Rule           described below, subject to any Permitted Variances (as defined herein). ¶ 3, Annex
    4001(b)(1)(B)(ii)         The Interim Budget for the Debtors’ use of the Cash Collateral sets forth A)
                              the Debtors’ projected cash receipts and disbursements for the two-week
    Local Rule                period commencing on the Petition Date. The Interim Budget is
    4001-2(a)(iii)            annexed to the Interim Order as Annex A.




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       The summary of the proposed use of Cash Collateral is qualified in its entirety by reference to the applicable
       provisions of the Interim Order. If there are any inconsistencies between this summary and the provisions of the
       Interim Order, the provisions of the Interim Order shall control. Any capitalized terms used but not otherwise
       defined in this summary shall have the respective meanings ascribed to such terms in the Interim Order.



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        Term            Summary of Material Terms                                                     Location
Duration of Use of      The Debtors’ right to use Cash Collateral shall terminate on the earlier      (Interim
Cash Collateral/        to occur of the following (a “Termination Date”): (x) 11:59 p.m., New         Order ¶ 12)
Termination Events/     York City time, at the expiration of the Initial Interim Period, unless (i)
Relief from Stay        a further Interim Order or final order granting the relief requested in the
Bankruptcy Rule         Motion is entered by the Court extending the Debtors’ right to use Cash
4001(b)(1)(B)(iii)      Collateral or (ii) the Debtors’ and the Prepetition ABL Secured Parties’
                        reach a mutual agreement to extend the Debtors’ right to use Cash
                        Collateral; and (y) the date upon which the Court issues an order
                        following notice and a hearing providing for the termination of the
                        further use of Cash Collateral due to the failure by the Debtors to comply
                        with the materials terms, covenants, and conditions of set forth in the
                        Interim Order.
Amount of Cash          The Debtors are authorized, subject to the terms and conditions of the        (Interim
Collateral to be Used   Interim Order, to use Cash Collateral in accordance with the Interim          Order ¶ 3)
Local Rule 4001-        Budget, subject to any Permitted Variances.
2(a)(i)(A)
Proposed Adequate            1. Prepetition ABL Secured Parties’ Adequate Protection. To the          (Interim
Protection              extent entitled under applicable law, as adequate protection for the          Order ¶¶ 4–7,
Bankruptcy Rule         Debtors’ use of the “Collateral” (as defined in the Prepetition ABL           9)
4001(b)(1)(B)(iv)       Credit Agreement (as defined herein)) (hereafter referred to as the
                        “Prepetition ABL Collateral”), the Prepetition ABL Secured Parties are
                        granted, solely to the extent, if any, of diminution in value of the
                        Prepetition ABL Secured Parties’ interests in the Estates’ interests in the
                        Prepetition ABL Collateral as of the Petition Date to the extent resulting
                        from the Debtors’ use, sale, or lease of the Prepetition ABL Collateral
                        and the imposition or enforcement of the automatic stay pursuant to
                        section 362(a) of the Bankruptcy Code:
                                 (a) valid and perfected replacement security interests in and
                                     liens upon the Debtors’ assets, whether existing on the
                                     Petition Date or arising or acquired thereafter
                                     (the “Prepetition ABL Adequate Protection Liens”),
                                     including the Prepetition ABL Collateral, and any
                                     proceeds thereof, but excluding (i) any and all claims and
                                     causes of action under chapter 5 of the Bankruptcy Code
                                     and        Bankruptcy         Code       section       724(a)
                                     (collectively, “Avoidance Actions”) and the proceeds
                                     thereof and any property received on account of
                                     Avoidance Actions, whether by judgment, settlement, or
                                     otherwise, whether pursuant to federal law or applicable
                                     state law, (ii) any and all commercial tort claims held by
                                     the Debtors (the “Commercial Tort Claims”) and the
                                     proceeds thereof and any property received on account of
                                     the Commercial Tort Claims, whether by judgment,
                                     settlement, or otherwise, whether pursuant to federal law
                                     or applicable state law, (iii) any and all proceeds from any
                                     insurance policy (including any “tail policy”) issued or
                                     providing coverage to the Debtors for claims against or
                                     liabilities of any of the Debtors’ current or former
                                     directors, managers, and officers, and (iv) any property or
                                     proceeds received by the Debtors or their Estates to the
                                     extent allocable to costs and expenses of preserving, or
                                     disposing of, any property in accordance with
                                     section 506(c) of the Bankruptcy Code (the foregoing


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Term         Summary of Material Terms                                                     Location
                           clauses (i)–(iv) collectively, the “Excluded Collateral”), in
                           each case, subject only to any valid, enforceable and
                           perfected Prepetition Prior Liens; and
                      (b) a superpriority administrative claim (the “Prepetition ABL
                          Adequate Protection Superpriority Claim”) against the
                          Debtors’ Estates, as and to the extent provided in
                          section 507(b) of the Bankruptcy Code; provided that the
                          Prepetition ABL Adequate Protection Superpriority Claim
                          shall not have recourse to the Excluded Collateral.
                 2. Prepetition ABL Secured Parties’ Additional Adequate
             Protection. As additional adequate protection of the Prepetition ABL
             Secured Parties’ respective interests:
                      (a) The Debtors shall use the Prepetition ABL Collateral,
                          including all Cash Collateral, substantially consistent with
                          the Interim Budget, subject to any Permitted Variance,
                          which is annexed to the interim Order as Annex A, in an
                          amount that would not cause any of the Debtors to use
                          Cash Collateral for operating disbursements and capital
                          expenditures in an aggregate amount greater than 20% of
                          the operating disbursements and capital expenditures,
                          taken together, for any particular week in the Interim
                          Budget (“Permitted Variance”), except with respect to the
                          fees, expenses, costs, or other disbursements of any
                          professionals, and all fees required to be paid to the clerk
                          of the Court and the United States Trustee for the District
                          of Delaware (“U.S. Trustee”) under section 1930(a) of title
                          28 of the United States Code. If the aggregate amount of
                          Cash Collateral actually used for operating disbursements
                          and capital expenditures, taken together, by the Debtors,
                          for any particular week, is less than the aggregate amount
                          of Cash Collateral available for use by the Debtors for
                          operating disbursements and capital expenditures, taken
                          together, in the Interim Budget during such period, then
                          for purposes of the Permitted Variance, the Debtors may
                          carry over any such unused amount to future periods.
                  3. Synacor Adequate Protection. To the extent entitled under
             applicable law, as adequate protection for the Debtors’ use of the
             collateral (the “Prepetition Synacor Collateral,” and together with the
             Prepetition ABL Collateral, the “Prepetition Collateral”) securing the
             Synacor Promissory Note (as defined herein), Synacor, Inc. (“Synacor”
             and, together with the Prepetition ABL Secured Parties, the “Prepetition
             Secured Parties”) is granted, solely to the extent, if any, of diminution
             in value of Synacor’s interest in the Estates’ interests in the Prepetition
             Synacor Collateral as of the Petition Date resulting from the Debtors’
             use, sale, or lease of the Prepetition Synacor Collateral and the
             imposition or enforcement of the automatic stay pursuant to section
             362(a) of the Bankruptcy Code:
                      (a) valid and perfected replacement security interests in and
                          liens upon the assets of Debtor Portal Acquisition
                          Company, whether existing on the Petition Date or arising
                          or acquired thereafter (the “Synacor Adequate Protection



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           Term              Summary of Material Terms                                                     Location
                                           Liens”), including the Prepetition Synacor Collateral, and
                                           any proceeds thereof, but excluding the Excluded
                                           Collateral, in each case, subject only to any valid,
                                           enforceable and perfected Prepetition Prior Liens; and
                                       (b) a superpriority administrative claim (the “Synacor
                                           Adequate Protection Superpriority Claim”) against Debtor
                                           Portal Acquisition Company’s estate, as and to the extent
                                           provided in section 507(b) of the Bankruptcy Code;
                                           provided that the Synacor Adequate Protection
                                           Superpriority Claim shall not have recourse to the
                                           Excluded Collateral.
                                  4. Prepetition Secured Parties’ Additional Adequate Protection.
                             As additional adequate protection of the Prepetition Secured Parties’
                             respective interests, the Debtors shall provide the Prepetition Secured
                             Parties with continued financial reporting consistent with the Prepetition
                             ABL Credit Agreement and the Synacor Promissory Note, as applicable.
                                  5. C&B Newco Adequate Protection. To the extent entitled under
                             applicable law, as adequate protection for diminution in value, if any, of
                             C&B Newco’s interests in the Estates’ interests in the merchandise
                             inventory and other goods consigned by C&B Newco to Debtor iMedia
                             Brands, Inc. pursuant to that certain Amended and Restated
                             Consignment Agreement, dated as of November 23, 2022 (as amended,
                             restated, amended and restated, modified, supplemented, or extended
                             from time to time, the “Consignment Agreement”), between Debtor
                             iMedia Brands, Inc., as consignee, and C&B Newco, as consignor
                             (collectively, the “Consigned Inventory”), as of the Petition Date, the
                             Debtors shall segregate the proceeds received by the Debtors on account
                             of the sale of the Consigned Inventory (the “C&B Newco Adequate
                             Protection Proceeds”); provided that the distribution of the C&B Newco
                             Adequate Protection Proceeds by the Debtors shall remain subject to the
                             resolution of the priority of security interests in and liens on such
                             proceeds among the Prepetition ABL Secured Parties, C&B Newco, and
                             any other lawful holder of security interests in and liens on the C&B
                             Newco Adequate Protection Proceeds.


                      FACTS SPECIFIC TO CASH COLLATERAL MOTION

A.       Prepetition Indebtedness6

         13.       As of the Petition Date, the Debtors have approximately $129.7 million of funded

principal debt and interest obligations (the “Prepetition Debt Obligations”), consisting of


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     The description of the Debtors’ prepetition indebtedness and the collateral securing such debt provided herein
     does not constitute, and should not be construed as, an admission by the Debtors regarding the validity, priority,
     enforceability, perfection, or amount of any obligation, claim, guarantee, lien, mortgage, pledge, or other security
     interest, or any other fact with respect thereto, and the Debtors reserve all rights to challenge or dispute any of the
     foregoing on any basis whatsoever.



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obligations under the Prepetition ABL Credit Agreement, the Synacor Promissory Note, the Senior

Unsecured Notes, the Growth Capital Partners Note, the PIPE Convertible Notes, and the guaranty

by iMedia of the obligations of its wholly-owned German subsidiary under the 123TV Seller Note

(each as defined herein).

          14.        The following table summarizes the Debtors’ prepetition capital structure (as of the

Petition Date) with respect to funded debt, inclusive of accrued but unpaid interest and fees.

        Instrument         Balance ($mm)              Rate              Maturity                  Security
    Prepetition ABL            $19.47            S+5.86448%             07/30/24         Substantially all assets of
    Facility                                    until 3/15/2023;                         each Debtor on a first
                                                   thereafter                            lien basis, subject to
                                                 S+7.86448%                              customary exceptions

                                                                                         Additionally benefits
                                                                                         from guarantees from
                                                                                         non-Debtor German
                                                                                         subsidiaries
    123TV Seller Note           $17.6               8.50%                9/29/23         None

                                                                                         Benefits from a
                                                                                         guarantee from Debtor
                                                                                         iMedia
    Synacor Promissory           $4.1             9.00% until           12/31/23         Substantially all assets of
    Note                                          07/30/2023;                            Debtor Portal
                                                   thereafter                            Acquisition Company on
                                                    11.00%                               a junior lien basis to the
                                                                                         Pre-Petition ABL
                                                                                         Facility

    Senior Unsecured            $81.7               8.50%                9/30/26         None
    Notes
                                                                                         iMedia is the issuer and
                                                                                         only obligor
    Growth Capital               $3.2             7.00% until            5/18/23         None
    Partners Note                                  6/1/2023;
                                                   thereafter                            iMedia is the issuer and
                                                    18.00%                               only obligor
    PIPE Convertible             $3.6             7.75% until            3/31/24         None
    Notes                                          12/31/23;
                                                   thereafter                            iMedia is the issuer and
                                                    15.00%                               only obligor




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      This outstanding balance includes, among other things, an early termination fee asserted by the Prepetition ABL
      Secured Parties, which totals approximately $1.6 million, and the fees and expenses of the Prepetition ABL
      Secured Parties’ professionals, which total approximately $1.4 million.



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               i.        The Prepetition ABL Facility

        15.     On July 30, 2021, Debtor iMedia Brands, Inc. (“iMedia”) entered into that certain

Loan and Security Agreement (as amended, restated, amended and restated, modified,

supplemented, or extended from time to time, the “Prepetition ABL Credit Agreement”) among

Debtors iMedia, ValueVision Interactive, Inc., ValueVision Retail, Inc., PW Acquisition

Company, LLC, FL Acquisition Company, ValueVision Media Acquisitions, Inc., JWH

Acquisition Company, Norwell Television, LLC, 867 Grand Avenue LLC and Portal Acquisition

Company, as borrowers (the “Prepetition ABL Borrowers”), Debtors VVI Fulfillment Center, Inc.

and EP Properties, LLC (together, the “Prepetition Debtor ABL Guarantors”) and non-Debtor

iMedia & 123tv Holding GmbH, as guarantors, Siena, as the Prepetition ABL Agent, and the

Prepetition ABL Lenders from time to time party thereto. On February 28, 2023, non-Debtors

iMedia & 123tv Holding GmbH, 123tv Invest GmbH, 123tv Holding GmbH, 123tv Beteiligungs

GmbH, 1-2-3.tv GmbH, and 1-2-Play GmbH, as guarantors (in such capacity, the “Prepetition

Non-Debtor ABL Guarantors”8 and, together with the Prepetition Debtor ABL Guarantors, the

“Prepetition ABL Guarantors”), and the Prepetition ABL Agent, as Beneficiary, entered into a

Guarantee Agreement (the “Prepetition ABL Guarantee”), pursuant to which the Prepetition Non-

Debtor ABL Guarantors guaranteed the Prepetition ABL Credit Agreement. The Prepetition ABL

Credit Agreement currently provides for a senior secured revolving credit facility in the aggregate

maximum committed principal amount of $80.0 million (including any letters-of-credit issued

thereunder).

        16.     The Prepetition Debtor ABL Guarantors, as well as non-Debtor iMedia & 123tv

Holding GmbH, have guaranteed, as primary obligors, the prompt and complete payment and


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    The Prepetition Non-Debtor ABL Guarantors are not Debtors in these chapter 11 cases.



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performance of all obligations under the Prepetition ABL Credit Agreement. Pursuant to the

Prepetition ABL Guarantee, each of the Prepetition Non-Debtor ABL Guarantors have agreed to

pay any amount of principal, interest, costs, expenses or other amounts owed under or in

connection with the Prepetition ABL Credit Agreement that has not been fully and irrevocably

paid by the Prepetition ABL Borrowers. The obligations under the Prepetition ABL Credit

Agreement are secured by substantially all of the assets of each of the Prepetition ABL Borrowers

and the Prepetition Debtor ABL Guarantors.                The Prepetition Non-Debtor ABL

Guarantors’ obligations under the Prepetition ABL Guarantee are secured by substantially all of

the assets of each of the Prepetition Non-Debtor ABL Guarantors. The liens securing the

Prepetition ABL Credit Agreement rank senior to the liens securing the Synacor Promissory Note.

       17.     The Prepetition ABL Credit Agreement has a stated maturity date of July 30, 2024.

Interest on outstanding amounts under the Prepetition ABL Credit Agreement accrues at SOFR

plus an applicable margin of 5.86448% (until March 15, 2023) and 7.86448% thereafter. As of

the Petition Date, approximately $19.4 million in aggregate principal amount and accrued but

unpaid interest remains outstanding on the Prepetition ABL Facility.

     ii.       Seller Notes

               (a)    123TV Seller Note

       18.     Pursuant to that certain Sale and Purchase Agreement, dated as of

September 22, 2021 (the “Share Purchase Agreement”), sellers Emotion Invest GmbH & Co. KG,

BE Beteiligungen Fonds GmbH & Co. geschlossene Investmentkommanditgesellschaft and Iris

Capital Fund II (together, the “123TV Sellers”) agreed to sell 100% of the shares of each of 123tv

Invest GmbH and 123tv Holding GmbH to non-Debtor purchaser iMedia & 123tv Holding GmbH

(“123tv Holding GmbH”). In connection with the Share Purchase Agreement, 123tv Holding

GmbH entered into a Vendor Loan Agreement with the 123TV Sellers, as lenders (as amended,


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restated, supplemented, amended and restated or otherwise modified from time to time,

the “123TV Seller Note”), whereby the 123TV Sellers agreed to novate the obligation of 123tv

Holding GmbH to pay a portion of the purchase price owed under the Share Purchase Agreement

into an interest-bearing vendor loan. The obligations under the 123TV Seller Note are guaranteed

by Debtor iMedia and non-Debtors 1-2-3.tv GmbH and 123tv Beteiligungs GmbH. The 123TV

Seller Note had an original principal amount of EUR18,000,000.

        19.      Interest on the 123TV Seller Note accrues at a per annum rate equal to 8.50%. As

of the Petition Date, approximately EUR16,155,583 in aggregate principal amount and accrued

but unpaid interest is outstanding on the 123TV Seller Note. The 123TV Seller Note has a maturity

date of September 29, 2023.

        20.      Non-Debtors 123tv Holding GmbH, 1-2-3.tv GmbH, and 123tv Beteiligungs

GmbH have guaranteed, as primary obligors, the prompt and complete payment and performance

of all obligations under the 123TV Seller Note. The 123TV Seller Note is subordinated to the full

cash payment of the Prepetition ABL Facility.9

                 (b)      Synacor Promissory Note

        21.      In connection with that certain Asset Purchase Agreement, dated as of July 30, 2021

(the “Synacor Asset Purchase Agreement”), by and among Debtors iMedia and Portal Acquisition

Company, and Synacor, Debtor Portal Acquisition Company issued that certain Secured

Promissory Note, dated as of July 30, 2021 (as amended, restated, amended and restated, modified,

supplemented, or extended from time to time, the “Synacor Promissory Note”) by and between

Debtors iMedia Brands, Inc., as parent, and Portal Acquisition Company, as borrower, and


9
    On July 29, 2022, Debtor iMedia entered into a letter agreement with 123tv Holding Gmbh (the “Financial
    Support Letter”), whereby, pursuant to the Financial Support Letter, iMedia agreed to directly pay to the 123TV
    Sellers any payment obligations under the 123TV Seller Note if 123tv Holding GmbH is unable to fulfill such
    payment obligations or if the payment of such obligations would render 123tv Holding GmbH as insolvent.



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Synacor, as holder, to Synacor in an original principal amount of $10.0 million.

       22.     Interest on the Synacor Promissory Note accrues at a per annum rate equal to 9.00%

until July 30, 2023, and 11.00% thereafter. As of the Petition Date, approximately $4.1 million in

aggregate principal amount and accrued but unpaid interest is outstanding on the

Synacor Promissory Note.        The Synacor Promissory Note has a maturity date of

December 31, 2023.

       23.     Debtor iMedia guaranteed, as primary obligor, the prompt and complete payment

and performance of all obligations under the Synacor Promissory Note. The obligations under the

Synacor Promissory Note are secured by substantially all of the assets of Debtor Portal Acquisition

Company, which consist principally of certain limited intellectual property assets and a limited

number of contracts related to the Debtors’ iMDS business.

    iii.       Unsecured Notes

               (a)    Senior Unsecured Notes

       24.     Pursuant to an Indenture, dated as of September 28, 2021 (as amended by that

certain First Supplemental Indenture, dated as of September 28, 2021, the “Indenture”), with U.S.

Bank National Association as Trustee, Debtor iMedia issued senior notes in an original principal

amount of $80.0 million in exchange for cash in the same amount (all such notes issued pursuant

to the Indenture, the “Senior Unsecured Notes”). The Senior Unsecured Notes are traded publicly

on the Nasdaq stock exchange under symbol “IMBIL”.

       25.     Interest on the Senior Unsecured Notes accrues at a per annum rate equal to 8.50%.

As of the Petition Date, approximately $81.7 million in aggregate principal amount and accrued

but unpaid interest remains outstanding on the Senior Unsecured Notes. The Senior Unsecured

Notes have a maturity date of September 30, 2026.




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        26.    The Senior Unsecured Notes represent unsecured obligations of Debtor iMedia and

rank equally with all other unsecured debt of Debtor iMedia. Debtor iMedia is the sole obligor

under the Senior Unsecured Notes and, therefore, the Senior Unsecured Notes are structurally

junior to the obligations of iMedia’s subsidiaries.

               (b)     Growth Capital Partners Note

        27.    Pursuant to a Securities Purchase Agreement, dated as of April 18, 2022 (the

“Securities Purchase Agreement”), Debtor iMedia issued a promissory note to Growth Capital

Partners, LLC (“GCP”) in an original principal amount of $10.6 million in exchange for cash in

the same amount on April 18, 2022 (the “Growth Capital Partners Note”).

        28.    On May 25, 2023, GCP delivered a notice of default with respect to a “Trigger

Event” (as defined in the Growth Capital Partners Note) that occurred on May 23, 2023. Such

notice of default stated, pursuant to the terms of the Growth Capital Partners Note, if Debtor iMedia

failed to cure such Trigger Event within five (5) business days of receipt of such notice of default,

an Event of Default under the Growth Capital Partners Note would occur on and as of such date.

Debtor iMedia failed to cure such Trigger Event on or prior to June 2, 2023, and, as a result, an

Event of Default under the Growth Capitals Partners Note occurred and was continuing on and as

of such date. On June 14, 2023, as a result of such Event of Default, the Debtors received a notice

of acceleration from GCP and a demand for payment of the full amount owed under the Growth

Capital Partners Note. On June 23, 2023, GCP filed suit against iMedia in the Third Judicial

District Court of Salt Lake County in the State of Utah for breach of the Growth Capital Partners

Note.

        29.    Interest on the Growth Capital Partners Note accrued at a per annum rate equal to

7.00% until June 1, 2023, and at a default rate of 18% thereafter. As of the Petition Date,

approximately $3.2 million in aggregate principal amount and accrued but unpaid interest and fees


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remain outstanding on the Growth Capital Partners Note. The Growth Capital Partners Note

matured on May 18, 2023.

         30.     The Growth Capital Partners Note represents an unsecured obligation of Debtor

iMedia and ranks equally with all other unsecured debt of Debtor iMedia. Debtor iMedia is the

sole obligor under the Growth Capital Partners Note and, therefore, the Growth Capital Partners

Note is structurally junior to the obligations of iMedia’s subsidiaries.

                 (c)      PIPE Convertible Notes

         31.     Pursuant to a Loan Agreement, dated as of April 10, 2023 (the “PIPE Loan

Agreement”), Debtor iMedia issued promissory notes to, among others, BSMF LLC, OCI-VB,

LLC, Mr. Tim Peterman, Invicta Media Investments LLC, Mr. Aaron Reitkopf, Mr. Michael

Friedman and Mr. Alan Aldworth (each, a “Purchaser”)10 in an aggregate original principal amount

totaling $3.5 million (all such notes issued pursuant to the PIPE Loan Agreement, the “PIPE

Convertible Notes”).11

         32.     Interest on the PIPE Convertible Notes accrues at a per annum rate equal to 7.75%,

increasing to 15.00% on January 1, 2024. As of the Petition Date, approximately $3.6 million in

aggregate principal amount and accrued but unpaid interest remains outstanding on the PIPE

Convertible Notes. The PIPE Convertible Notes have a maturity date of March 31, 2024.

         33.     The PIPE Convertible Notes represent unsecured obligations of Debtor iMedia and

rank equally with all other unsecured debt of Debtor iMedia. Debtor iMedia is the sole obligor

under the PIPE Convertible Notes and, therefore, the PIPE Convertible Notes are structurally



10
     Messrs. Reitkopf, Friedman, and Aldworth are members of the iMedia Board. Mr. Peterman is the Debtors’ CEO,
     CFO, a member of the iMedia Board, and a director for certain iMedia subsidiaries. Invicta Media Investments
     LLC is affiliated with Mr. Eyal Lalo, a member of the iMedia Board, and Mr. Friedman.
11
     As of the Petition Date, neither Mr. Friedman nor Invicta Media Investments, LLC has paid the Debtors their
     aggregate $155,000 owed pursuant to the PIPE Loan Agreement and their PIPE Convertible Notes.



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junior to the obligations of iMedia’s subsidiaries. The right of the Purchasers to receive any

payments from Debtor iMedia in respect of such entity’s obligations under the PIPE Convertible

Notes is subordinated to the full cash payment of the Prepetition ABL Facility.

B.     The Debtors Have Immediate Need for Access to Cash Collateral

       34.     Cash is critical to the Debtors’ business enterprise, which consists of a broad-based

portfolio of entertainment, consumer brands, and media commerce services businesses. See Cash

Collateral Declaration, ¶ 5. Absent the immediate use of Cash Collateral, the Debtors will be

unable to make critical payments to their employees, vendors, and applicable taxing authorities.

Id. Without this ability to use Cash Collateral, the Debtors’ business operations will be severely

disrupted at a critical juncture where they seek to utilize the “breathing spell” provided by

chapter 11 to stabilize operations and preserve and maximize value for all stakeholders. Id.

       35.     In particular, the Debtors require the use of Cash Collateral to pay wages, benefits,

taxes, and other items contemplated by the Debtors’ Interim Budget, annexed to the

Debtors’ proposed interim Cash Collateral order as Annex A. Id. at ¶ 6. Non-payment will

materially and adversely affect the Debtors’ operations and business relationships and, in all

likelihood, substantially impair the value of the Prepetition Collateral. Id. In particular, the

Debtors propose to use Cash Collateral to pay the following obligations to avoid immediate and

irreparable harm to their chapter 11 Estates at the outset of these chapter 11 cases.

       36.     The Debtors’ proposed immediate use of Cash Collateral is intended to provide

working capital during the limited Initial Interim Period in order to avoid immediate and

irreparable harm to their businesses. Id. at ¶ 8. Access to Cash Collateral will permit the Debtors

to operate their businesses, fund operating expenses and the costs of administering these Estates,

preserve the value of the Prepetition Collateral, and pursue a value-maximizing transaction for the




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benefit of the Debtors’ stakeholders. Id. Alternatively, failure to obtain access to Cash Collateral

as provided by the Initial Budget, and as set forth above, will result in immediate and irreparable

harm to the Debtors’ Estates absent the relief requested herein. Id.

       37.     As a result, the Debtors respectfully submit that the relief requested by this Motion

is narrowly tailored to avoid immediate and irreparable harm to their estates.

                                      BASIS FOR RELIEF

A.     STANDARDS FOR RELIEF

       38.     Under section 363(c)(2) of the Bankruptcy Code, a debtor may not use cash

collateral unless “(A) each entity that has an interest in such cash collateral consents; or (B) the

court, after notice and a hearing, authorizes such use, sale, or lease in accordance with the

provisions of this section.” 11 U.S.C. § 363(c)(2). In turn, section 363(e) of the Bankruptcy Code

provides that a debtor may use cash collateral (even absent consent), provided that any entity with

an interest in such property is adequately protected. More specifically, section 363(e) of the

Bankruptcy Code provides that “on request of an entity that has an interest in property . . . proposed

to be used, sold, or leased, by the trustee [or debtor in possession], the court, with or without a

hearing, shall prohibit or condition such use, sale, or lease as is necessary to provide adequate

protection of such interest.” 11 U.S.C. § 363(e). Further, section 362(d)(1) provides for adequate

protection of interests in property due to the imposition of the automatic stay. See 11 U.S.C.

§ 362(d)(1); see also In re Cont’l Airlines, 91 F.3d 553, 556 (3d Cir. 1996).

       39.     The principal purpose of adequate protection is to safeguard the interest of the

secured creditor in the particular collateral against diminution in the value of such interest in the

estates’ interest in such collateral as of the petition date.          In re Satcon Tech. Corp.,

Case No. 12-12869 (KG), 2012 WL 6091160, at *6 (Bankr. D. Del. Dec. 7, 2012) (quoting In re




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Swedeland Dev. Group, Inc., 16 F.3d 552, 564 (3d Cir. 1994) (“The whole purpose of adequate

protection for a creditor is to insure that the creditor receives the value for which he bargained

prebankruptcy.”); Del. Tr. Co. v. Wilmington Tr., N.A. (In re Energy Future Holdings Corp.),

546 B.R. 566, 581 (Bankr. D. Del. 2016) (quoting In re Satcon Tech., 2012 WL 6091160, at *6)

(“The purpose of adequate protection ‘is to protect a secured creditor from diminution in the value

of its interest in the particular collateral during the period of use by the debtor.’”); In re Cont’l

Airlines, Inc., 154 B.R. 176, 180–81 (Bankr. D. Del. 1993) (adequate protection for use of

collateral under section 363 of the Bankruptcy Code is limited to use-based decline in value). The

interest to be protected by virtue of the adequate protection requirement is the lesser of the amount

of the debt or the value of assets securing the debt as of the Petition Date. See Bankers Life Ins.

Co. of Neb. v. Alyucan Interstate Corp. (In re Alyucan Interstate Corp.), 12 B.R. 803, 808 (Bankr.

D. Utah 1981) (“[T]he ‘interest in property’ entitled to protection is not measured by the amount

of the debt but by the value of the lien.”).

       40.     The Bankruptcy Code does not expressly define “adequate protection.” However,

section 361 of the Bankruptcy Code provides a non-exhaustive list of examples of adequate

protection:

       When adequate protection is required under section 362, 363, or 364 of this title of
       an interest of an entity in property, such adequate protection may be provided by—

              (1) requiring the trustee to make a cash payment or periodic cash payments to
                  such entity, to the extent that the stay under section 362 of this title, use,
                  sale, or lease under section 363 of this title, or any grant of a lien under
                  section 364 of this title results in a decrease in the value of such entity’s
                  interest in such property;

              (2) providing to such entity an additional or replacement lien to the extent that
                  such stay, use, sale, lease, or grant results in a decrease in the value of
                  such entity’s interest in such property; or

              (3) granting such other relief, other than entitling such entity to compensation
                  allowable under section 503(b)(1) of this title as an administrative


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                   expense, as will result in the realization by such entity of the indubitable
                   equivalent of such entity’s interest in such property.

11 U.S.C. § 361.

       41.     However, courts ultimately decide what constitutes sufficient adequate protection

on a case-by-case basis. See In re Swedeland Dev. Group, Inc., 16 F.3d at 564 (“[A] determination

of whether there is adequate protection is made on a case by case basis.”); see also In re Satcon

Tech. Corp., 2012 WL 6091160, at *6 (same); H.R. Rep. No. 95-595, at 338, 95th Cong., 1st Sess.

(1977) (“the purpose of [section 361] is to illustrate means by which it may be provided and to

define the contours of the concept”).

       42.     In addition, where, as is the case here, there is a sufficient equity cushion, a lender

is adequately protected and a debtor may use the subject collateral without consent. See In re

Cont’l Airlines, Inc., 146 B.R. 536, 539 (Bankr. D. Del. 1992) (“If the creditor is oversecured many

courts hold that the equity cushion alone satisfies the adequate protection requirement of section

362(d)(1).”), aff’d, 91 F.3d 553 (3d Cir. 1996); see also In re Mellor, 734 F.2d 1396, 1400

(9th Cir. 1984) (“Although the existence of an equity cushion as a method of adequate protection

is not specifically mentioned in § 361, it is the classic form of protection for a secured debt

justifying the restraint of lien enforcement by a bankruptcy court.”); In re JER/Jameson Mezz

Borrower II, LLC, 461 B.R. 293, 306 (Bankr. D. Del. 2011) (citing In re Indian Palms Assocs.,

Ltd., 61 F.3d 197, 207 (3d Cir. 1995)) (“‘[I]n determining whether a secured creditor’s interest is

adequately protected [for purposes of section 362(d)(1)], most courts engage in an analysis of the

property’s ‘equity cushion’—the value of the property after deducting the claim of the creditor

seeking relief from the stay and all senior claims’ while ignoring junior liens.”); In re Phoenix

Steel Corp., 39 B.R. 218, 224 (D. Del. 1984) (“It is clear that if a sufficient equity cushion exists

[a creditor’s] security would not be impaired and they would be adequately protected.”).



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       43.     Case law has consistently recognized that an equity cushion of 20% or more, in and

of itself, constitutes adequate protection. See In re JER/Jameson Mezz Borrower, 461 B.R.at 306

(citing In re McKillips, 81 B.R. 454, 458 (Bankr. N.D. Ill. 1987)) (surveying cases which show

that an equity cushion of more than 20% is adequate protection but less than 11% is not); see also

In re San Clemente Estates, 5 B.R. 605 (Bankr. S.D.Cal. 1980) (65% is adequate); In re Nashua

Trust Co., 73 B.R. 423 (Bankr. D.N.J. 1987) (50% is adequate); In re Ritz Theatres, 68 B.R. 256

(Bankr. M.D.Fla. 1986) (38% is adequate); In re Helionetics, Inc., 70 B.R. 433 (Bankr. C.D.Cal.

1987) (20.4% is adequate).

       44.     Further, a bankruptcy court should, whenever possible, resolve issues in ways that

allow a debtor to continue its business as a going concern.              In re George Ruggiere

Chrysler-Plymouth, Inc., 727 F.2d 1017, 1019 (11th Cir. 1984) ( “[a] debtor, attempting to

reorganize a business under chapter 11 clearly has a compelling need to use ‘cash collateral’ in its

effort to rebuild. Without the availability of cash to meet daily operating expenses . . . the

congressional policy favoring rehabilitation over economic failure would be frustrated.”); see also

In re Trump Entm’t Resorts, Inc., 519 B.R. 76, 87 (Bankr. D. Del. 2014) (“The fundamental

purpose of [chapter 11] reorganization is to prevent a debtor from going into liquidation, with an

attendant loss of jobs and possible misuse of economic resources.”) (quoting NLRB v. Bildisco

& Bildisco, 465 U.S. 513, 528 (1984)). Accordingly, courts in this District have authorized the

use of cash collateral to enhance or preserve the debtor’s going concern value. See, e.g., In re

Sorenson Commc’ns, Inc., No. 14-10454 (BLS) (Bankr. D. Del. Mar. 4, 2014) (granting authority

to use cash collateral where access to “sufficient working capital and liquidity through the use of

Cash Collateral . . . is vital to the preservation and maintenance of the Debtors’ going concern

values and successful reorganization.”); In re WP Steel Venture LLC, No. 12-11661 (KJC)




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(Bankr. D. Del. Sept. 27, 2012) (same). Accordingly, the Debtors seek authorization to utilize

Cash Collateral in the ordinary course to sustain their business operations while the Debtors seek

to maximize the going concern value of their business enterprise for the benefit of the Estates and

the Debtors’ stakeholders.

B.     THE PREPETITION ABL SECURED PARTIES HAVE CONSENTED TO
       CERTAIN USE OF CASH COLLATERAL

       45.     The Prepetition ABL Secured Parties have previously agreed to provide their

consent to the Debtors’ use of Cash Collateral to pay certain sales tax obligations as set forth in

the Interim Budget. See Cash Collateral Declaration, ¶ 10. Pursuant to that certain Funding

Agreement, dated as of June 20, 2023, by and between the Prepetition ABL Borrowers, the

Prepetition ABL Guarantors, and the Prepetition ABL Secured Parties (as amended, restated,

amended and restated, supplemented, or otherwise modified from time to time, the “ABL Funding

Agreement”), attached to hereto as Exhibit B, the Prepetition ABL Secured Parties agreed to,

among other things, make certain cash available to the Debtors through the consensual use of Cash

Collateral for the payment of certain sales tax obligations consistent therewith. Id. Specifically,

the ABL Funding Agreement provides that the ABL Secured Parties “hereby agree[d] to, make

funds available to Borrowers in an amount equal to $3,160,140 to be used solely or the purpose of

paying certain sales taxes . . . pursuant to . . . (y) a Bankruptcy Court approved cash collateral order

consented to by the Agent and Lenders . . . .” Id. Accordingly, the Prepetition ABL Secured

Parties have specifically consented to the use of Cash Collateral with respect to the applicable tax

payments contemplated by the Initial Budget. Id.

C.     THE PROPOSED USE OF CASH COLLATERAL IS APPROPRIATE AND
       SHOULD BE AUTHORIZED

       46.     In addition to the consents already provided by the Prepetition ABL Secured

Parties, the Debtors respectfully submit that the proposed use of Cash Collateral is necessary to


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preserve their respective assets during the Initial Interim Period and throughout these chapter 11

cases. As set forth above, absent the immediate use of Cash Collateral, the Debtors will be unable

to make critical payments to their employees, vendors, and applicable taxing authorities. See Cash

Collateral Declaration, ¶ 5. Without this ability to use Cash Collateral, the Debtors’ business

operations will be severely disrupted at a critical juncture where they seek to utilize the “breathing

spell” provided by chapter 11 to stabilize operations and preserve and maximize value for all

stakeholders. Id. at 8. In particular, the Debtors require the use of Cash Collateral to pay wages,

benefits, taxes, vendors, and insurance obligations, as set forth in the Interim Budget. Id. at 6.

Non-payment will adversely affect the Debtors’ operations and business relationships and, in all

likelihood, substantially impair the value of the Prepetition Collateral. Id.

       47.     Moreover, the Debtors’ proposed immediate use of Cash Collateral is intended to

provide working capital during the Initial Interim Period. Id. at 8. As set for the above, the

Debtors’ proposed is limited to expenditures required to avoid immediate and irreparable harm to

their businesses and, in turn, preserving the value of their Estates for the benefit of the

Debtors’ stakeholders. Id. Alternatively, failure to obtain access to Cash Collateral would likely

result in a forced liquidation of the Debtors’ Estates and the significant impairment of stakeholder

value. Id.

       48.     Accordingly, entry of the proposed Interim Order to ensure the Debtors’ continued

access to Cash Collateral is reasonable and necessary to avoid immediate and irreparable harm to

the Debtors and their Estates.

D.     THE PREPETITION ABL SECURED PARTIES WILL BE ADEQUATELY
       PROTECTED BY A SUBSTANTIAL EQUITY CUSHION

       49.     The Debtors propose to provide adequate protection to the Prepetition ABL Secured

Parties solely to the extent, if any, of diminution of the Prepetition ABL Secured Parties’ interests



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in the Estates’ interest in the Prepetition ABL Collateral as of the Petition Date. Id. at ¶ 10. As

noted above, the Prepetition ABL Secured Parties’ liens are secured by a first-priority interest in

substantially all of the Debtors’ assets, including Cash Collateral. Id. Moreover, the Prepetition

ABL Secured Parties are materially oversecured as of June 23, 2023, by at least $74.8 million

versus an outstanding balance on that debt of approximately $19.4 million.12 Id. at ¶ 11. As of

June 23, 2023, (i) the book value of the Prepetition ABL Collateral totals approximately

$94.9 million, and (ii) the obligations outstanding under the Prepetition ABL Credit Agreement

total approximately $19.4 million. Id.

         50.       Accordingly, at the outset of these chapter 11 cases, the Prepetition ABL Secured

Parties are protected by a substantial 383.88% cushion in the Prepetition ABL Collateral. Id. at

¶ 12.

         51.       More specifically, as of June 23, 2023, the Debtors’ accounts receivable totaled

approximately $27.1, and the book value of the Debtors’ inventory totaled approximately

$67.7 million. Id. at ¶ 13. In other words, the Prepetition ABL Secured Parties are oversecured

by a substantial margin as of June 23, 2023, taking into account only the value of accounts

receivable and inventory. Id.

         52.       The Prepetition ABL Secured Parties’ own Borrowing Base (as defined herein)

further establishes the extent to which those parties are significantly oversecured as of the Petition

Date. Id. at ¶ 14. Pursuant to the Prepetition ABL Credit Agreement, the Debtors’ Borrowing

Base formula is calculated based on applying significant discounts13 to the book value and

liquidation value of certain of the Debtors’ assets, including certain consumer accounts, credit card


12
     See n.7, supra.
13
     Notably, and as discussed in greater detail herein, the significant discounts applied to the Debtors’ assets pursuant
     to the Borrowing Base formula are not consistent with the Debtors’ historical realization rates for such assets.



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receipts, and inventory.14 Id. In addition, the availability under the Borrowing Base formula is

further decreased by discretionary reserves established by the Prepetition ABL Agent, which

currently total approximately $11.6 million, of which $8.6 million constitutes the Availability

Block under the Prepetition ABL Credit Agreement.15 Id. The Debtors are therefore unable to

borrow up to the 100% value of the notional lending commitments provided by the Prepetition

ABL Secured Parties at any given time precisely because the Prepetition ABL Secured Parties’

borrowing formula provides for a substantial equity cushion. Id.

         53.      According to the Prepetition ABL Lenders’ Borrowing Base formula, as of

June 23, 2023, the Debtors’ outstanding loan balance under the ABL Credit Agreement was not

supposed to exceed $19.5 million. Id. at ¶ 15. As of Petition Date, the Debtors had borrowed



14
     Pursuant to the Prepetition ABL Credit Agreement, “Borrowing Base” means “as of any date of determination,
     the Dollar Equivalent Amount as of such date of determination of:
     (a) the aggregate amount of Eligible Consumer Accounts of each Borrower multiplied by the Accounts Advance
         Rate (i.e., 85%); plus
     (b) the aggregate amount of In-transit Credit Card Receipts multiplied by the Accounts Advance Rate (i.e., 85%)
         (but in no event to exceed the In-transit Credit Card Receipts Sublimit); plus
     (c) the aggregate amount of Eligible Portal Accounts of Portal multiplied by the Portal Accounts Advance Rate
         (i.e., 80%) (but in no event to exceed the Portal Accounts Sublimit); plus
     (d) the Net Orderly Liquidation Value of the applicable Eligible Inventory multiplied by the Inventory Advance
         Rate (i.e., 85%) (but not to exceed the sublimit applicable to all Inventory); plus
     (e) the Net Orderly Liquidation Value of the applicable Eligible Slow Moving Inventory multiplied by the
         Inventory Advance Rate (i.e., 85%) (but not to exceed the sublimit applicable to Eligible Slow Moving
         Inventory); plus
     (f) the Net Orderly Liquidation Value of Eligible In-Transit Inventory multiplied by the Inventory Advance Rate
         (i.e., 85%) (but not to exceed the sublimit applicable to Eligible In-Transit Inventory); minus
     (g) all Reserves which Agent has established pursuant to Section 1.2; minus
     (h) the Availability Block.”
15
     Pursuant to the Prepetition ABL Credit Agreement, “Availability Block” means an amount equal to (a) during
     the period commencing on the Tenth Amendment Effective Date and ending on April 30, 2023, $12,175,000,
     (b) during the period commencing on May 1, 2023 and ending on May 31, 2023, $12,375,000, (c) during the
     period commencing on June 1, 2023 and ending on June 30, 2023, $12,575,000, and (b) at all times on and after
     July 1, 2023, $13,000,000. As noted above, the “Availability Block” imposed by the Borrowing Base is
     $8.6 million, and the discretionary reserves “which the Agent has established pursuant to Section 1.2” of the
     Prepetition ABL Credit Agreement total $11.6 million, which includes the Availability Block.



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approximately $19.4 million, which was 0.51% below the Borrowing Base and equivalent to only

20.67% of the book value of the Debtors’ eligible accounts receivable and inventory. Id. Further,

the Debtors’ historical realization rates on eligible accounts and inventory typically exceed the

80-85% level built into the Borrowing Base formula.16 Id. In addition, the Prepetition ABL

Secured Parties have a first-priority lien in other receivables and inventory notwithstanding that

they are not included in the Borrowing Base (the “Excluded Borrowing Base Collateral”). Id. The

value of the Excluded Borrowing Base Collateral totaled approximately $23.7 million17 as of

June 23, 2023 based on the book value of such assets. Id. As a result, the value of the Prepetition

ABL Collateral securing the claims of the Prepetition ABL Secured Parties substantially exceeds

the $19.4 million loan balance by a significant margin. Id.

         54.      During the Initial Interim Period, based on the Interim Budget, the Debtors and

their professionals anticipate that the balance of the Prepetition ABL Collateral may decline by

approximately $2.8 million, which would decrease the Prepetition ABL Secured Parties’ equity

cushion from 383.88% to 372.93% of the balance of the Prepetition ABL Collateral. Id. at ¶ 16.

Therefore, the Prepetition ABL Secured Parties will maintain their substantial equity cushion

during the proposed budget period. Id.

         55.      Additionally, the Debtors have been actively negotiating a going concern

transaction that would provide for the payment, in full, of the Prepetition ABL Facility. Id. at 17.

These discussions remain ongoing, and the relief requested with respect to the Debtors’ use of

Cash Collateral will facilitate the Debtors’ ability to complete this transaction. Id. Indeed, the




16
     See n. 14, supra.
17
     This consists of approximately $10.5 million of accounts receivable and $13.2 million of inventory.



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availability of this going concern transaction underscores the extent to which the Prepetition ABL

Secured Parties are significantly oversecured as of the Petition Date. Id.

        56.    Finally, pursuant to that certain Guarantee Agreement, dated as of

February 28, 2023, by and between iMedia & 123tv Holding GmbH, 123tv Invest GmbH,

123tv Holding GmbH, 123tv Beteiligungs GmbH, 1-2-3.tv GmbH, and 1-2-Play GmbH

(collectively, the “Non-Debtor ABL Guarantors”), as guarantors, and the Prepetition ABL Agent,

as beneficiary (as amended, restated, amended and restated, modified, supplemented, or extended

from time to time, the “ABL Guarantee Agreement”), the obligations arising under the Prepetition

ABL Credit Agreement are guaranteed by the Non-Debtor ABL Guarantors. Id. at ¶ 18. For

reference, iMedia purchased the Non-Debtor ABL Guarantors’ business for EUR 80.0 million

(or $94.5 million based on the September 13, 2021 exchange rate) in September 2021. Id.

        57.    In addition to the Prepetition ABL Secured Parties’ equity cushion, as well as the

value of the guarantees in favor of the Prepetition ABL Secured Parties provided by the

Debtors’ non-Debtor affiliates, the Debtors propose additional forms of adequate protection for

the Prepetition ABL Secured Parties, Synacor, and C&B Newco. Id. at ¶ 19. These additional

forms   of    adequate   protection   include,   as     applicable:    (a) additional   liens   on   the

Debtors’ unencumbered assets existing as of the Petition Date (the “Unencumbered Assets”) and

replacement liens upon the Prepetition Collateral to the extent, if any, of diminution in value of

the Prepetition Secured Parties’ respective interests in the Estates’ interest in the Prepetition

Collateral as of the Petition Date; (b) superpriority administrative expense claims for any such

diminution in value; (c) financial reporting; and (d) with respect to C&B Newco, segregation of

proceeds received by the Debtors on account of the sale of the Consigned Inventory. Id. Therefore,

even if the value of the Prepetition Collateral and Consigned Inventory decreases during the Initial




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Interim Period, the Prepetition Secured Parties and C&B Newco are adequately protected through,

among other things, the beforementioned adequate protection provided by the Debtors and the

Debtors’ granting of adequate protection liens on the Unencumbered Assets. Id.

       58.     In light of the foregoing, the Debtors submit that the proposed adequate protection

is: (a) fair and reasonable under the circumstances; (b) necessary to satisfy the requirements of

sections 363(c)(2) and 363(e) of the Bankruptcy Code; and (c) in the best interests of the Debtors

and their Estates. The Court should therefore authorize the Debtors to use the Cash Collateral

under section 363(c)(2) of the Bankruptcy Code. If, following the filing of this Motion, the

Debtors are unable to reach consensual agreements with the Prepetition Secured Parties regarding

the Debtors’ use of the Prepetition Collateral, including Cash Collateral, the Debtors reserve the

right to request continued use of Cash Collateral at the Second Interim Hearing.

E.     IMMEDIATE RELIEF IS NECESSARY TO AVOID IMMEDIATE AND
       IRREPARABLE HARM

       59.     Bankruptcy Rule 4001(b)(2) permits a bankruptcy court to hold a preliminary

hearing to authorize a debtor’s use of cash collateral if the debtor will suffer “immediate and

irreparable harm” if not permitted to use the cash collateral during the period prior to a final

determination on a motion. See Fed. R. Bankr. P. 4001(b)(2). The Third Circuit has interpreted

the language “immediate and irreparable harm” in the context of preliminary injunctions and has

instructed that irreparable harm is a continuing harm that cannot be adequately redressed by final

relief on the merits and for which money damages cannot provide adequate compensation.

See, e.g., Norfolk S. Ry. Co. v. City of Pittsburgh, 235 F. App’x 907, 910 (3d Cir. 2007)

(citing Glasco v. Hills, 558 F.2d 179, 181 (3d Cir. 1977)). Furthermore, the harm must be shown

to be actual and imminent, not speculative or unsubstantiated. See, e.g., Acierno v. New Castle

County, 40 F.3d 645, 653-55 (3d Cir. 1994).



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       60.      Use of Cash Collateral is necessary to enable the Debtors to pay their

ordinary-course operating expenses, continue to operate the business as a going concern, finance

these chapter 11 cases, and pursue a value-maximizing postpetition sale process. See Cash

Collateral Declaration ¶ 8. If the Debtors are unable to access the Cash Collateral, they may be

forced into an immediate, fire-sale liquidation, which would significantly reduce the expected

proceeds from any sale process, and significantly reduce recoveries for all stakeholders. Id.

       61.     At the same time, the Debtors’ requested relief is narrow: The Debtors are

proposing to use Cash Collateral on a limited basis in the interim period solely to the extent

necessary to avoid immediate and irreparable harm to the Debtors’ Estates at the outset of these

chapter 11 cases. Id. at ¶ 6. As noted above, the Debtors’ proposed expenditures consist of a

narrow band of expenditures necessary to avoid immediate and irreparable harm to these

chapter 11 Estates. Id.

       62.     This limited use of Cash Collateral will preserve, and not impair, the value of the

collateral securing the Prepetition ABL Secured Parties’ claims. Id. at ¶ 8. The Debtors’ proposed

Interim Budget is established to preserve the going-concern value of the Debtors’ businesses and

solely provides for the payment of expenditures essential thereto. Id. at ¶ 6. Indeed, the

Debtors’ proposed payments to content distributors will facilitate the Debtors’ going concern value

and also their ability to sell inventory in the ordinary course of business. Id. Conversely, failure

to make such payments could literally take the Debtors “off the air” in major markets and,

therefore, both materially disrupt operations and impair collateral value at the outset of these

chapter 11 cases. Id. Preserving the value of the Debtors’ businesses, and thus the Prepetition

ABL Collateral, should maintain the Prepetition ABL Secured Parties’ equity cushion during the

Initial Interim Period, as the Debtors seek to stabilize their businesses in chapter 11 and pursue a




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value-maximizing transaction for the benefit of the Debtors’ Estates and their stakeholders,

including the Prepetition ABL Secured Parties. Id. at ¶¶ 6, 8.

       63.     Therefore, the Debtors request that the Court enter the proposed Interim Order

authorizing the Debtors’ use of Cash Collateral in the ordinary course of their business during the

Initial Interim Period. The Debtors also request that the Court schedule the Second Interim

Hearing to consider approval of the Debtors’ use of Cash Collateral.

                       WAIVER OF BANKRUPTCY RULE 4001(a)(3)

       64.     To implement the foregoing successfully, and given the nature of the relief

requested herein, the Debtors respectfully request a waiver of the stay of the effectiveness of the

order approving this Motion under Bankruptcy Rule 4001(a)(3). Bankruptcy Rule 4001(a)(3)

provides that “[an] order granting a motion for relief from an automatic stay made in accordance

with Rule 4001(a)(1) is stayed until the expiration of 14 days after entry of the order, unless the

court orders otherwise.” As explained herein, immediate access to the Cash Collateral is essential

to prevent irreparable damage to the Debtors’ Estates. Accordingly, ample cause exists to justify

the waiver of the 14-day stay imposed by Bankruptcy Rule 4001(a)(3) to the extent such applies.

                                 RESERVATION OF RIGHTS

       65.     The Debtors reserve all rights. Without limiting the generality of the foregoing,

nothing contained herein is or should be construed as: (a) an admission as to the validity, extent,

perfection, priority, allowability, enforceability, or character of any claim or any security interest

which purportedly secures such claim or other asserted right or obligation, or a waiver or other

limitation on the Debtors’ ability to contest the same on any ground permitted by bankruptcy or

applicable non-bankruptcy law; (b) a waiver of the Debtors’ or any appropriate party in

interest’s rights to dispute the amount of, basis for, or validity of any claim against the Debtors;




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(c) a promise to pay any claim; (d) a waiver of any claims or causes of action which may exist

against any creditor or interest holder; (e) an assumption or rejection of any executory contract or

unexpired lease pursuant to section 365 of the Bankruptcy Code, and nothing herein otherwise

affects the Debtors’ rights under section 365 of the Bankruptcy Code to assume or reject any

executory contract or unexpired lease with any party subject to this Motion; (f) granting third-party

beneficiary status or bestowing any additional rights on any third party; or (g) being otherwise

enforceable by any third party.

                                              NOTICE

       66.     The Debtors will provide notice of this Motion to: (a) United States Trustee for the

District of Delaware, 844 N. King Street, Room 2207, Wilmington, Delaware, 19801

(Attn: Richard L. Schepacarter, email: richard.schepacarter@usdoj.gov); (b) the United States

Attorney’s Office for the District of Delaware; (c) the state attorneys general for all states in which

the Debtors conduct business; (d) the Internal Revenue Service; (e) the United States Securities

and Exchange Commission; (f) the holders of the fifty (50) largest unsecured claims against the

Debtors on a consolidated basis; (g) counsel to the Prepetition ABL Agent, Blank Rome LLP,

1201 North Market Street, Suite 800, Wilmington, Delaware 19801 (Attn: Regina Stango Kelbon,

Esq., email: regina.kelbon@blankrome.com); (h) U.S. Bank, N.A. as indenture trustee for the

Senior Unsecured Notes; (i) counsel to Synacor, Thompson Hine, LLP, 3900 Key Center,

127 Public Square, Cleveland, Ohio 44114 (Attn: Curtis Tuggle and Jonathan Hawkins, email:

curtis.tuggle@ThompsonHine.com and jonathan.hawkins@ThompsonHine.com); (j) counsel to

C&B Newco, Riemer Braunstein LLP, Times Square Tower, Suite 2506, New York, New York

10036 (Attn: Steven Fox, Esq., email: sfox@riemerlaw.com) and Troutman Pepper Hamilton

Sanders LLP, Hercules Plaza, Suite 5100, 1313 North Market Street, Wilmington, DE 19801

(Attn: Douglas D. Herrmann, email: douglas.herrmann@troutman.com); (k) counsel to Crystal


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Financial LLC d/b/a SLR Credit Solutions, Morgan Lewis & Bockius, LLP, One Federal Street,

Boston,        Massachusetts      021110     (Attn:        Julia   Frost-Davies,   email:   julia.frost-

davies@morganlewis.com); (m) banks and financial institutions where the Debtors maintain

accounts; and (n) any party that has requested notice pursuant to Bankruptcy Rule 2002. The

Debtors respectfully submit that, in light of the nature of the relief requested, no further notice is

necessary.

                                        NO PRIOR REQUEST

       67.        No prior request for the relief sought in this motion has been made to this or any

other court.




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                                        CONCLUSION

       WHEREFORE, the Debtors respectfully request that this Court enter the Interim Order,

substantially in the form attached hereto as Exhibit A, and a final order granting the relief

requested herein and such other and further relief as may be just and proper.

Dated: June 29, 2023                    PACHULSKI STANG ZIEHL & JONES LLP
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                                        Proposed Counsel to the Debtors and Debtors in Possession




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